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         NOTICE OF REMOVAL
Roderick Williams v. KIPP Minnesota
                  EXHIBIT B
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STATE OF MINNESOTA                                                      DISTRICT COURT

COUNTY OF HENNEPIN                           FOURTH JUDICIAL DISTRICT
________________________________________________________________________

Roderick Williams,
                                                        Court File No. _______________
       Plaintiff,                                       Case Type: Employment
v.                                                      NOTICE OF MOTION AND
                                                        MOTION TO DISMISS
KIPP Minnesota,

       Defendant.

________________________________________________________________________

To:    Plaintiff through his attorney Eric Satre, Satre Law Firm, International Plaza, 7900
       International Drive, Suite 300, Bloomington, MN 55425.

                                  NOTICE OF MOTION

       PLEASE TAKE NOTICE that a hearing will be held on a date and time to be

determined at a later date, before a judicial officer of the Fourth Judicial District, at the

Hennepin County Government Center, 300 South 6th Street, Minneapolis, MN 55487, on

a Motion to Dismiss submitted by Defendant KIPP Minnesota.                 Defendant KIPP

Minnesota will contact the Court to schedule the hearing at a future date upon the filing

of the above-captioned lawsuit.

                                         MOTION

       Pursuant to Minnesota Rules of Civil Procedure 12.02(e), Defendant KIPP

Minnesota respectfully moves the Court for an order dismissing Plaintiff’s claims against

it in their entirety and with prejudice. This Motion is based upon all of the pleadings,

files, records, and proceedings herein, along with the memorandum of law and any other
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supporting documents to be filed at a future date in accordance with Rule 115.03 of the

Minnesota Rules of General Practice and the arguments of counsel to be made at the

hearing.

      Defendant KIPP Minnesota’s motion is made in lieu of a responsive pleading in

accordance with Rule 12 of the Minnesota Rules of Civil Procedure.


                                              SQUIRES, WALDSPURGER
Dated: May 23, 2023                           & MACE P.A.


                                              By: /s/John P. Edison
                                              John P. Edison (#391118)
                                              333 South Seventh Street, Suite 2800
                                              Minneapolis, MN 55402
                                              Phone: (612) 436-4300
                                              Fax: (612) 436-4340
                                              john.edison@raswlaw.com

                                              ATTORNEYS FOR DEFENDANT




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                              ACKNOWLEDGMENT

The undersigned acknowledge that costs, disbursements and reasonable attorney and
witness fees may be awarded under Minn. Stat. § 549.211, subd. 3, to the party against
whom the allegations in this pleading are asserted.


Dated: May 23, 2023                           /s/John P. Edison
                                              John P. Edison (#391118)


SWM: 238546




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      AFFIDAVIT OF SERVICE BY U.S. MAIL AND ELECTRONIC MAIL

STATE OF MINNESOTA )
                   ) ss
COUNTY OF HENNEPIN )

      Briana Ludwig being duly sworn, states on May 23, 2023, she served the
Defendant KIPP Minnesota’s Notice of Motion and Motion to Dismiss on:

       Eric Satre
       Satre Law Firm
       International Plaza
       7900 International Drive, Suite 300
       Bloomington, MN 55425
       esatre@satrelaw.com


by mailing to him a copy thereof, postage prepaid, and by depositing same in the post
office at Minneapolis, Minnesota and e-mailing to the above-referenced e-mail address.



                                               /s/ Briana Ludwig
                                               Briana Ludwig


                                               Subscribed and sworn to before me
                                               this 23rd day of May, 2023.


                                               /s/ Jenna Nestberg
                                               Notary Public, Minnesota

                                               My Commission Expires January 31,
                                               2025

Our File No. 1582-0152
SWM: 238565




                                                                                 Exhibit B
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